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A 0 245 S (Rev. l/SB)(N.D.Ala, rev.) Sheet I-Judgment in a Criminal Case                                            U.S. DISTRICT COURT
                                                                                                                        N.D. OF ALABAMA

                                 UNITED STATES DISTRICT COURT
                                    Northern District of Alabama
UNITED STATES OF AMERICA

         v.                                                           Case Number 2:OO-CR-213-LAC

ALBERT JORDAN
    Defendant.


                                        JUDGMENT IN A CRIMINAL CASE
                              (For Offenses Committed On or After November 1,1987)

         The defendant, ALBERT JORDAN, was represented by William N. Clark.

         The defendant has been found not guilty on Count 4 , and is discharged as to                such count.
        The defendant was found guilty on Counts 1 and 3 after a plea of not guilty. Accordingly, the defendant
is adjudged guilty of the following counts, involving the indicated offenses:

Title & Section                              Nature of Offense                                      Count Numbers

I 8 USC 5 371                      Conspiracy to Convert to Own Use Records and Things of Value of 1
                                   the United States. of a Value in Excess of $1,000; Witness
                                   Tampering: and Defraud the United States by Using Deceit. Craft.
                                   Trickery. Overreaching. and Dishonest Means to Interfere with and
                                   lmpair L a ~Government
                                                   l           Functions
18 USC 3 641                       Receiving a Thing of Value of the United States (Wrongfully       3
                                   Converted NClC Records) with the Intent to Convert to His Own
                                   Use

     As pronounced on April 1I , 2006, the defendant is sentenced as provided in pages 2 through 4                        of this
Judgment. The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

       It is ordered that the defendant shall pay to the United States a special assessment of $200.00, for Counts
1 and 3, which shall be due immediately.

        It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this Judgment are fully paid.


                          Signed this the   Jbgd
                                               /day          of April, 2006.




                                                                               Lacey A. Collier
                                                                               United States District Judge
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A 0 245 S (Rev. 1198)(N.D.Ala.rev.) Sheet 4 - Probation


                                                                                                               Judgment--Page 2 of 4
Defendant: ALBERT JORDAN
Case Number: 2:OO-CR-213-LAC
                                                 PROBATION
       The defendant is hereby placed on probation for a term of 6 months. The Probation Office shall provide
the defendant with a copy of the standard conditions and any special conditions of probation.
                                                 STANDARD CONDITIONS OF PROBATION
While the defendant is on probation pursuant to this Judgment:
1) The defendant shall not commit another federal, state or local crime; specifically,the defendant shall not illegally possess a controlled
     substance and shall not own or possess a firearm or destructive device.
     The defendant shall not leave the judicial district without permission of the Court or probation officer.
     The defendant shall report to the probationofficer as directed by the Court or probationofficer and shall submit a truthful and complete
     written report within the first five (5) days of each month.
     The defendantshall answertruthfully all inquiriesby the probationofficer, shall providethe probationofficer access to requestedfinancial
     information, and shall follow the instructions of the probation officer.
     The defendant shall support his or her dependents and meet other family responsibilities.
     The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
     acceptable reasons.
     The defendant shall notify the probation officer ten (10) days prior to any change in residenceor employment.(On change of residence
     to a new jurisdictionof a person convictedeitherof a crime of violenceor of a drug trafficking offense,the ProbationOffice is responsible
     for complying with the notice provisions of 18 U.S.C. § 4042(b).)
     The defendant shall refrain from excessiveuse of alcohol, except that a defendant while in the Drug and Alcohol Intensive Counseling
     and Aftercare Service Program (DAICASP) (or comparableprogram in another district) shall consume no alcohol. The defendant shall
     not purchase, possess, use, distribute, or administer any narcoticor other controlled substance, or any paraphernaliarelated to such
     substances.
     The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
     The defendant shall not associatewith any persons engaged in criminal activity, and shallnot associate with any person convicted of
     a felony unless granted permission to do so by the probation officer.
     The defendant shall permit a probationofficerto visit him or her at any time at home or elsewhereand shall permit confiscationof any
     contraband observed in plain view by the probation officer.
     The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by a law enforcement
     officer.
     The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
     permission of the Court.
     The defendant shall comply with any directions from the probation officer to serve notice of third parlrysks the defendant may pose,
     and shall cooperate with the officer's efforts to confirm compliance.
     Thedefendantshallcomplywiththe probationoffice'sPoliciesandProcedures Concerning Court Ordered FinancialObligationstosatisfy
     the balanceof any monetaryobligationresultingfrom the sentenceimposed in the case. Further,the defendantshall notifythe probation
     office of any change in the defendant's economic circumstances that might affect the defendant's ability to pay a fine, restitution, or
     assessment fee. If the defendant becomes more than 60 days delinquenh payments of financial obligations, the defendant may be
     (a) required to attend a financial education or employment preparation program under the administrative supervision the probation'
     officer, (b) placed on home confinement subject to electronic monitoring for a maximum period of 90 days under the administrative
     supervision ofthe probation officer (with the defendant to pay the cost of monitoring unless the probation officer determines that the
     defendant does not have the ability to do so), andlor (c) placed in a community corrections center for up to 180 days under the
     administrative supervision of the probation officer (with the defendant to pay the cost of subsistence unless the probation officer
     determines that the defendant does not have the ability to do so).
     Unlessexcused by a specialconditionof probationor supervisedreleasein the Judgment or by a subsequentcourt order, the defendant
     shall comply with 18 U.S.C. § 3563 (a) (probation) or § 3583 (d) (supervised release) regarding mandatory drug testing (with the
     defendant to contribute to the cost of drug testing unless the probationofficer determines that the defendant does not have the ability
     to do so). A positive urinalysismay result in the defendant's placement in the probation office's Drug and Alcohol lntensive Counseling
     and Aftercare Service Program (DAICASP) (or comparable program in another district) under the administrative supervision of the
     probation officer.
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A 0 245 S (Rev. 1198)(N.D.Ala. rev.) Sheet 3 - Continuation of Standard Conditions of Probation
                                                                                                              Judgment--Page 3 of 4
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                                   CONTINUATION OF STANDARD CONDITIONS OF PROBATION

17) The defendantmay be placedin the probationoffice's Drugand Alcohol IntensiveCounselingandAftercare ServiceProgram(DAICASP)
    (or comparableprogram in anotherdistrict) by virtueof a specialconditionof probationor supervisedreleasecontainedin the Judgment,
    under the administrative supervision of the probation officer after a positive urinalysis, or a court order entered during the period of
    probation or supervision for other good cause shown. This program may include (a) testing by the probation officer or an approved
    vendor to detect drug or alcohol abuse (with the defendant to contribute to the cost of drug testing unless the probation officer
    determinesthat the defendantdoes not havethe abilityto do so), (b) a mandatorydrug education program(which may includeindividual
    or group counseling provided by the probationoffice or an approvedvendorwith the defendant to contributeto the cost of druglalcohol
    treatment unless the probation officerdeterminesthat the defendant does not have the ability to do so, (c) placement in a residential
    treatment program or community correctionscenterfor up to 180 daysunderthe administrativesupervisionof the probationofficer(with
    the defendant to pay the cost of subsistence unless the probation officer determines that the defendant does not have the abilityto do
    so), and (d) home confinement subject to electronic monitoring for a maximum period of ninety (90) days under the administrative
    supervision of the probation officer (with the defendantto pay the cost of monitoring unless the probation officer determines that the
    defendant does not have the ability to do so).
18) The defendant may be placed in the probation office's computer restrictionlmonitoring program (or comparable program in another
    district) by virtue of a special condition of probation or supervised release contained in the Judgment. This program may include the
    following: (a) The defendant shall not possess or use any computer or portable electronic device which has the capability of
    communicating with any other electronic device without the prior approval of the probation officer or the Court. This includes, but is
    not limited to, any computer, personal digital assistant, satellite equipment, cellular telephone, or services such as computer on-line
    bulletin board services andlor internet service. The defendant shall notify the probation officer before altering or effecting repairs to
    any computer he uses. (b) The defendant shall permit the probation officer to conduct periodic, unannounced examinations of any
    computer and computer-related equipment the defendant uses, other than equipment owned by hislher employer that is maintained
    at a place of employment other than the defendant's home. The examination may include the retrieval and copying of all data from
    the computer, and internal or external peripheral equipment, and any software. (c) The defendant, under the administrative
    supervision of the probation officer, shall allow, at his expense, the installation of any hardwarelsoftware on any computer system
    he uses, other than equipment owned by his employer, to monitor hislher computer use (andlor to prevent access to prohibited
    materials), and helshe shall submit to such monitoring. The defendant shall consent to the placement of a notice on any computer
    upon which monitoring hardwarelsoftware is installed to warn others of the existence of the monitoring. (d) The defendant shall not
    use any computer or computer-related equipment owned by hislher employer except for strict benefit of his employer in the
    performance of hislher job-related duties. (e) The defendant shall consent to third-party disclosure to any employer or potential
    employer of any computer-related restrictions which have been imposed upon himlher. (f) The defendant shall provide the U S .
    Probation Office with accurate information about all hardware and software which comprise any computer system helshe uses; all
    passwords used by the defendant, and information pertaining to all internet service providers used by the defendant, whether
    specifically subscribed by the defendant or not. The defendant shall provide written authorization for release of information from the
    defendant's internet service provider. (g) Thedefendant shall furnish hislher personal and business telephone records to the probation
    officer upon request. Furthermore, the defendant shall provide the probation officer with written authorization for release of
    information from the defendant's telephone service provider. (h) The defendant shall not possess or use any type of data encryption
    or stenography software or technique. The defendant shall not alter, delete, or hide records pertaining to computer access, retrieval,
    or storage.
19) The defendant shall cooperate in the collection of DNA under the administrative supervision of the probation officer.
20) If ordered to a period of supervised release after incarceration, the defendant shall report in person, within 72 hours of release from
    the custody of the Bureau of Prisons, to the probation office in the district where the defendant is released. defendant is released.
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A 0 245 S (Rev. 1/98)(N.D.Ala. rev.) Sheet 5 Fine


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Defendant: ALBERT JORDAN
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                                                       FINE


        The defendant shall pay a fine of $500.00, with interest waived.

        This fine is due and payable within thirty (30) days.

        If the fine is not paid, the court may sentence the defendant to any sentence which might have been
originally imposed. See 18 U.S.C. § 3614.
